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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 20-CR-80092-RUIZ

 UNITED STATES OF AMERICA,

 vs.

 MICHAEL LIGOTTI,

                       Defendant.
                                          /

        The United States of America, by and through the undersigned counsel, respectfully moves

 this Court to reduce the sentence of Defendant Michael Ligotti (“LIGOTTI”) pursuant to Rule 35

 of the Federal Rules of Criminal Procedure. In support, the Government states as follows:

        1.      The Defendant pled guilty on October 4, 2022, and was sentenced by this Court on

 January 9, 2023, to a 240-month term of imprisonment, with an order that the Defendant must self-

 surrender for service of his sentence on December 1, 2023.

        2.      Since he pled guilty, the Defendant has debriefed with the Government numerous

 times, and provided the Government with substantial assistance in a number of large and complex

 addiction treatment fraud and other cases. In addition, in March 2023 LIGOTTI testified at a trial

 as a Government witness in the Middle District of Florida, United States v. Durall, et al., 20-CR-

 00086-CORRIGAN.

        3.      As a result of the Defendant’s substantial assistance, the United States recommends

 a forty percent (40%) sentence reduction.      Such a reduction would result in a sentence of

 approximately 144 months.

        4.      The Government has conferred with counsel for the Defendant, who agrees with the

 Motion but is seeking a greater reduction in sentence, and will request a hearing; the Government’s
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 understanding is that US Probation take no position on this Rule 35 Motion because it regards a

 change in sentencing.

        5.      The Government requests a hearing on this Motion as well, which will allow time for

 victims to be notified and heard. The Government can provide further information on the extent of

 the Defendant’s cooperation at a hearing if the Court deems it necessary.

 Dated: November 27, 2023                             Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY
                                                      SOUTHERN DISTRICT OF FLORIDA

                                                      GLENN LEON
                                                      CHIEF, FRAUD SECTION
                                                      CRIMINAL DIVISION

                                              By:     /s/ James V. Hayes____________________
                                                      JAMES V. HAYES (FL Bar # A5501717)
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 27, 2023, the foregoing was served on all attorneys of
 record in the above-captioned case via the CM/ECF electronic filing system.

                                                                     By:     /s/ James V. Hayes
